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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                        )
In re:                                  )   Chapter 11
                                        )
WHITING CANADIAN HOLDING                )   Case No. 20-32020 (DRJ)
COMPANY ULC,                            )
                                        )
                    Debtor.             )
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )   Chapter 11
                                        )
WHITING PETROLEUM CORPORATION,          )   Case No. 20-32021 (MI)
                                        )
                    Debtor.             )
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )   Chapter 11
                                        )
WHITING OIL AND GAS CORPORATION,        )   Case No. 20-32022 (MI)
                                        )
                    Debtor.             )
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )   Chapter 11
                                        )
WHITING RESOURCES CORPORATION,          )   Case No. 20-32023 (MI)
                                        )
                    Debtor.             )
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )   Chapter 11
                                        )
WHITING US HOLDING COMPANY,             )   Case No. 20-32024(MI)
                                        )
                    Debtor.             )
                                        )
Tax I.D. No. XX-XXXXXXX                 )
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                  DEBTORS’ EMERGENCY MOTION FOR ENTRY OF
                AN ORDER (I) DIRECTING JOINT ADMINISTRATION OF
               CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

        EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE CONDUCTED ON
        THIS MATTER ON APRIL 1, 2020, AT 1:30 P.M. (CENTRAL TIME) IN COURTROOM 400, 4TH
        FLOOR, 515 RUSK STREET, HOUSTON, TEXAS 77002. IF YOU OBJECT TO THE RELIEF
        REQUESTED OR YOU BELIEVE THAT EMERGENCY CONSIDERATION IS NOT
        WARRANTED, YOU MUST EITHER APPEAR AT THE HEARING OR FILE A WRITTEN
        RESPONSE PRIOR TO THE HEARING. OTHERWISE, THE COURT MAY TREAT THE
        PLEADING    AS    UNOPPOSED       AND      GRANT    THE    RELIEF   REQUESTED.

        RELIEF IS REQUESTED NOT LATER THAN APRIL 2, 2020.

        PLEASE NOTE THAT ON MARCH 24, 2020, THROUGH THE ENTRY OF GENERAL ORDER
        2020-10, THE COURT INVOKED THE PROTOCOL FOR EMERGENCY PUBLIC HEALTH OR
        SAFETY CONDITIONS.

        IT IS ANTICIPATED THAT ALL PERSONS WILL APPEAR TELEPHONICALLY AND ALSO
        MAY APPEAR VIA VIDEO AT THIS HEARING.

        AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S REGULAR DIAL-IN
        NUMBER. THE DIAL-IN NUMBER IS +1 (832) 917-1510. YOU WILL BE RESPONSIBLE FOR
        YOUR OWN LONG-DISTANCE CHARGES. YOU WILL BE ASKED TO KEY IN THE
        CONFERENCE ROOM NUMBER. JUDGE JONES’ CONFERENCE ROOM NUMBER IS 205691.

        PARTIES MAY PARTICIPATE IN ELECTRONIC HEARINGS BY USE OF AN INTERNET
        CONNECTION. THE INTERNET SITE IS WWW.JOIN.ME. PERSONS CONNECTING BY
        MOBILE DEVICE WILL NEED TO DOWNLOAD THE FREE JOIN.ME APPLICATION.

        ONCE CONNECTED TO WWW.JOIN.ME, A PARTICIPANT MUST SELECT “JOIN A
        MEETING”. THE CODE FOR JOINING THIS HEARING BEFORE JUDGE JONES IS
        “JUDGEJONES”. THE NEXT SCREEN WILL HAVE A PLACE FOR THE PARTICIPANT’S
        NAME IN THE LOWER LEFT CORNER. PLEASE COMPLETE THE NAME AND CLICK
        “NOTIFY”.


        The above-captioned debtors and debtors in possession (collectively, the “Debtors”) 1

respectfully state the following in support of this motion:

                                             Relief Requested

        1.       The Debtors seek entry of an order, substantially in the form attached hereto

(the “Order”): (a) directing procedural consolidation and joint administration of these chapter 11

cases; and (b) granting related relief. The Debtors request that one file and one docket be

1
    A detailed description of the Debtors and their businesses, and the facts and circumstances supporting this
    motion and the Debtors’ chapter 11 cases, are set forth in the Declaration of Jeffrey S. Stein, Chief
    Restructuring Officer of Whiting Petroleum Corporation, in Support of Chapter 11 Petitions and First Day
    Motions and the Declaration of Correne S. Loeffler, Chief Financial Officer of Whiting Petroleum Corporation,
    in Support of the Debtors’ First Day Motions (the “First Day Declarations”), each of which are to be filed in
    connection herewith.

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maintained for all of the jointly-administered cases under the case of Whiting Petroleum

Corporation, Case No. 20-32021, and that the cases be administered under a consolidated

caption, as follows:

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                )
In re:                                                          )      Chapter 11
                                                                )
WHITING PETROLEUM CORPORATION,                                  )      Case No. 20-32021 (DRJ)
et al., 1                                                       )
                                                                )      (Jointly Administered)
                                   Debtors.                     )
                                                                )
1
    The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
    number, are: Whiting Canadian Holding Company Unlimited Liability Corporation (3662); Whiting Petroleum
    Corporation (8515); Whiting US Holding Company (2900); Whiting Oil and Gas Corporation (8829); and
    Whiting Resources Corporation (1218). The location of the debtors’ service address is: 1700 Lincoln Street,
    Suite 4700, Denver, Colorado 80203.

         2.       The Debtors further request that this Court order that the foregoing caption

satisfies the requirements set forth in section 342(c)(1) of the Bankruptcy Code.

         3.       The Debtors also request that a docket entry, substantially similar to the

following, be entered on the docket of each of the Debtors, other than Whiting Petroleum

Corporation, to reflect the joint administration of these chapter 11 cases:

         An order has been entered in accordance with Rule 1015(b) of the Federal Rules
         of Bankruptcy Procedure and Rule 1015-1 of the Local Rules of Bankruptcy
         Practice and Procedure of the United States Bankruptcy Court for the Southern
         District of Texas directing joint administration for procedural purposes only of the
         chapter 11 cases of: Whiting Canadian Holding Company Unlimited Liability
         Corporation, Case No. 20-32020; Whiting US Holding Company, Case No.
         20-32021; Whiting Oil and Gas Corporation, Case No. 20-32022; Whiting
         Petroleum Corporation, Case No. 20-32023; and Whiting Resources Corporation,
         Case No. 20-32024. The docket in Case No. 20-32021 (DRJ) should be consulted
         for all matters affecting this case. All further pleadings and other papers shall
         be filed in and all further docket entries shall be made in Case No. 20-32021
         (DRJ).


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                                      Jurisdiction and Venue

       4.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a

core proceeding within the meaning of 28 U.S.C. § 157(b). The Debtors confirm their consent,

pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

the entry of a final order by the Court in connection with this motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

       5.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.       The bases for the relief requested herein are sections 105(a) and 342(c) of title 11

of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Bankruptcy

Rule 1015(b), and rule 1015-1 and 9013-1 of the Bankruptcy Local Rules for the Southern

District of Texas (the “Bankruptcy Local Rules”).

                                            Background

       7.       Whiting Petroleum Corporation (“WLL”) and its Debtor affiliates are an

independent exploration and production company with an oil focused asset base. The Debtors’

primary production and development activities are located in North Dakota and the Rocky

Mountain region, with additional oil and gas properties located in Texas. The Debtors’ assets

predominately are mature properties with stable, high-quality, oil-weighted production.

Headquartered in Denver, Colorado, the Debtors have approximately 500 employees. The

Debtors’ operating revenue for the twelve-month period that ended December 31, 2019 was

approximately $1.6 billion, and, as of the Petition Date, the Debtors have approximately $3.4

billion in total funded debt obligations.



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       8.       On the date hereof (the “Petition Date”), each Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and

managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. Concurrently with the filing of this motion, the Debtors filed a motion

requesting procedural consolidation and joint administration of these chapter 11 cases pursuant

to Bankruptcy Rule 1015(b). No request for the appointment of a trustee or examiner has been

made in these chapter 11 cases, and no committees have been appointed or designated.

                                          Basis for Relief

       9.       Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . (2) a partnership and one or more of its

general partners, or (3) two or more general partners, or (4) a debtor and an affiliate, the court

may order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The Debtor entities that

commenced chapter 11 cases are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code. Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court

to grant the relief requested herein. Bankruptcy Local Rule 1015-1 further provides for the joint

administration of related chapter 11 cases.

       10.      Joint administration of these chapter 11 cases will provide significant

administrative convenience without harming the substantive rights of any party in interest.

Many of the motions, hearings, and orders in these chapter 11 cases will affect each Debtor

entity. The entry of an order directing joint administration of these chapter 11 cases will reduce

fees and costs by avoiding duplicative filings and objections. Joint administration also will allow

the United States Trustee for the Southern District of Texas and all parties in interest to monitor

these chapter 11 cases with greater ease and efficiency.



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        11.     Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because this motion seeks only administrative, not substantive, consolidation of

the Debtors’ estates. Parties in interest will not be harmed by the relief requested, but instead

will benefit from the cost reductions associated with the joint administration of these chapter 11

cases. Accordingly, the Debtors submit that the joint administration of these chapter 11 cases is

in the best interests of their estates, their creditors, and all other parties in interest.

                                      Emergency Consideration

        12.     Pursuant to Bankruptcy Rule 6003, which empowers a court to grant relief within

the first 21 days after the commencement of a chapter 11 case “to the extent that relief is

necessary to avoid immediate and irreparable harm,” and Local Rule 9013-1(i), the Debtors

respectfully request emergency consideration of this motion. The motion requests relief from

procedural rules and requirements that pertain to matters of immediate significance or which

involve deadlines sooner than 21 days after the Petition Date. The relief will save costs and

avoid undue administrative burden and confusion only if granted before the applicable deadlines.

Accordingly, the Debtors submit that they have satisfied the “immediate and irreparable harm”

standard of Bankruptcy Rule 6003 and, therefore, respectfully request that the Court approve the

relief requested in this motion on an emergency basis.

                                                  Notice

        13.     The Debtors will provide notice of this motion to the following parties or their

counsel: (a) the U.S. Trustee for the Southern District of Texas; (b) the holders of the 30 largest

unsecured claims against the Debtors (on a consolidated basis); (c) the administrative agent

under the Debtors’ prepetition revolving credit facility; (d) the lenders under the Debtors’

prepetition revolving credit facility; (e) the indenture trustee for the Debtors’ unsecured notes;

(f) the ad hoc group of senior noteholders; (g) the United States Attorney’s Office for the

                                                     6
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Southern District of Texas; (i) the Internal Revenue Service; (j) the United States Securities and

Exchange Commission; (k) the Environmental Protection Agency and similar state

environmental agencies for states in which the Debtors conduct business; (l) the state attorneys

general for states in which the Debtors conduct business; and (m) any party that has requested

notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the

relief requested, no other or further notice need be given.




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       WHEREFORE, the Debtors respectfully request that the Court enter an order, granting

the relief requested herein and such other relief as the Court deems appropriate under the

circumstances.

Houston, Texas
April 1, 2020

Respectfully Submitted,

/s/ Matthew D. Cavenaugh
JACKSON WALKER L.L.P.                          KIRKLAND & ELLIS LLP
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                                               Proposed Co-Counsel for the Debtors and Debtors in
                                               Possession
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                                     Certificate of Service

        I certify that on April 1, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
